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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                    ___________________

                                        No: 22-2909
                                    ___________________

                                   United States of America

                                                Plaintiff - Appellant

                                                  v.

                                      J. Alexander Kueng

                                    Defendant - Appellee
______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                               (0:21-cr-00108-PAM-3)
______________________________________________________________________________

                                         JUDGMENT

       Appellant's motion to dismiss the appeal is granted. The appeal is hereby dismissed in

accordance with the Federal Rules of Appellate Procedure 42(b).

       The Court's mandate shall issue forthwith.

                                                       January 11, 2023




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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